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UNITED STATES DISTRICT COURT C)f\\
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LYNNE ZAGER and ToBY ALTFIELD, JUDGMENT IN A CIVIL C'As//WSO/;/U’W

Plaintiffs,
v.

GARY DEATON doing business as CASE NO: 1:03-1153-B
DEATON’S CARPET ONE,

Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND AD.]UDGED that in accordance With the Order Granting

Defendant’s Motion For Summary Judgment entered on August 18, 2005, this cause is
hereby dismissed.

 

 

§ DzNIEL BREEN
ED STATES DISTRICT COURT

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Date' -_ Clerk of Court

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(By) Deputy Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
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Honorable J. Breen
US DISTRICT COURT

